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 5                                UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF CALIFORNIA
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 8   GERALD CARLIN, JOHN RAHM, PAUL                       CASE NO. 1:09-CV-00430 AWI EPG
     ROZWADOWSKI and DIANA WOLFE,
 9                                                        ORDER FOR SUPPLEMENTAL
     individually and on behalf of themselves and
                                                          BRIEFING ON DAIRYAMERICA,
10   all others similarly situated,                       INC.’S REQUEST TO SEAL
                                                          DOCUMENTS AND FILE REDACTED
11                                 Plaintiffs,            VERSIONS
12          v.                                            (Doc. No. 387)
13
     DAIRYAMERICA, INC., and
14   CALIFORNIA DAIRIES, INC.,

15                                 Defendants.

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18          Defendant DairyAmerica, Inc. (“DairyAmerica”) has filed a Request to Seal Documents

19   and File Redacted Versions (“Request”). DairyAmerica’s Request seeks to file under seal portions

20   of its Opposition to Plaintiffs’ Motion for Leave to File Fourth Amended Complaint

21   (“Opposition”) and to seal accompanying declarations and attached exhibits as identified in its

22   Request. However, DairyAmerica has not cited to any legal authority addressing the sealing of

23   public information, such as press releases, publications available to the public, and statements

24   available to the public, including but not limited to a press release from 2008, testimony at a

25   Senate hearing, and excerpts from The Milkweed. See, e.g., DairyAmerica’s Opposition at pp. 18-

26   19. The Court will allow DairyAmerica seven (7) calendar days from the date of this order to

27   submit supplemental briefing on its Request pending before this Court. Such supplemental

28   briefing must address the proposed sealing of the identified public information.
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 1                                               ORDER
 2          Accordingly, IT IS HEREBY ORDERED that: within seven (7) calendar days from the
 3   date of this order, DairyAmerica shall submit supplemental briefing on its Request.
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     IT IS SO ORDERED.
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 6   Dated: April 14, 2017
                                                SENIOR DISTRICT JUDGE
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